287 F.2d 561
    Harld M. ERVIN, Administrator of the Estate of AliceZiegler, Deceased, Plaintiff-Appellantv.CHESAPEAKE AND OHIO RAILROAD COMPANY, Defedant-Appellee.
    Motion No. 14340
    United States Court of Appeals Sixth Circuit.
    Jan. 27, 1961.
    
      1
      Rene J. Ortlieb, Flint, Mich., Ira D. Bare, Clio, Mich., William S. Price, III, Flint, Mich., for appellant.
    
    
      2
      Robert A. Straub, Detroit, Mich., Mathew Davison, Jr., Gault, Davision &amp; Bowers, Flint, Mich., for appellee.
    
    ORDER.
    
      3
      Now comes Rene J. Ortlieb, one of the attorneys for Plaintiff-Appellant in the above entitled cause, and says unto this Court that the above matter has been settled and compromised and therefore moves this Court to dismiss the said cause now pending before this Court.
    
    
      4
      Motion having been filed by Rene J. Ortlieb, one of the attorneys for the plaintiff-appellant, it appearing that the said cause has been settled and compromised,
    
    
      5
      On Motion of Rene J. Ortlieb, it is ordered that the above cause be and the same is hereby dismissed with prejudice.
    
    